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                                                                      Honorable Marsha J. Pechman
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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6

 7
                                                     ) Case No. CR08-207-MJP
     UNITED STATES OF AMERICA,                       )
 8
                                                     ) ORDER TO SEAL
                               Plaintiff,            )
 9
                                                     )
              vs.                                    )
10
                                                     )
     RANDY HODGSON,                                  )
11
                                                     )
                               Defendant.            )
12

13            Having read the Sentencing Memorandum of Defendant & Motion for Downward

14   Departure/Variance in the above-referenced case, which was filed under seal, this Court

15   concludes that this pleading and all related pleadings shall be allowed to remain under seal.
16            It is hereby ORDERED that the Sentencing Memorandum of Defendant & Motion for
17
     Downward Departure/Variance shall remain under seal.
18
              DATED this 27th day of March, 2009,
19




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21

22                                                        Marsha J. Pechman
                                                          United States District Judge
23

24   Presented by:
     s/ Scott J. Engelhard_____
25   Scott J. Engelhard
     Attorney for Randy Hodgson

                                                                        SCOTT J. ENGELHARD
     Order to Seal - 1                                              119 First Avenue South, Suite 320
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